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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

WSOU Investments, LLC d/b/a
Brazos Licensing and Development,

                Plaintiff,
                                            C.A. No. 20-1232-CFC
      v.

Xilinx, Inc.,
                Defendant.

                DEFENDANT XILINX, INC.’S PARTIAL MOTION
                 TO DISMISS WSOU’S AMENDED COMPLAINT

       Pursuant to FED. R. CIV. P. 12(b)(6), Defendant Xilinx, Inc. (“Xilinx”)

 hereby moves for an Order, substantially similar to the proposed Order attached

 hereto, dismissing the claims in the Amended Complaint (D.I. 11) for induced and

 contributory infringement for failure to state a claim upon which relief can be

 granted. The grounds for this motion are set forth in Xilinx’s Opening Brief

 submitted herewith.
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Dated: December 7, 2020                 YOUNG CONAWAY STARGATT &
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                                   CERTIFICATE OF SERVICE

                 I, Anne Shea Gaza, hereby certify that on December 7, 2020, I caused to be

         electronically filed a true and correct copy of the foregoing document with the

         Clerk of the Court using CM/ECF, which will send notification that such filing is

         available for viewing and downloading to the following counsel of record:

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                 I further certify that on December 7, 2020, I caused a copy of the foregoing

         document to be served by e-mail on the above-listed counsel, and on the following:

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